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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                                                      Case No.: 1:16-cv-22967-UU

 SOLUTIONS 2 GO, LLC,

        Plaintiff,

 v.

 WORLD MAGIC GAMES, LLC,
 et al.,

       Defendants.
 _________________________________/

                                 DEFAULT FINAL JUDGMENT

        THIS CAUSE came before the Court on Plaintiff’s Motion for Entry of Final Default

 Judgment Against Defendants (“Motion”). In accordance with the Court’s Order Granting the

 Motion, it is hereby

        ORDERED AND ADJUDGED as follows:

        1.      Plaintiff, Solutions 2 Go, LLC, shall recover from Defendants, World Magic

 Games, LLC and Hassan Alawie, jointly and severally, the sum of $911,740 in principal.

        2.      In addition, Plaintiff shall recover from Defendant Hassan Alawie $8,875.00 for

 attorneys’ fees and $410.21 for costs, for a total of $9,285.21.

        3.      Execution shall issue on this judgment forthwith. Post-judgment interest shall

 accrue at the current legal rate allowed under 28 U.S.C. § 1961 as of the date of this Final

 Default Judgment until this judgment is satisfied.

        4.      In accordance with Section 55.10(1) of the Florida Statutes, Plaintiff’s address is:

                Solutions 2 Go, LLC
                111 Theory, Suite 250
                Irvine, CA 92617
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         5.       In accordance with Section 55.10(1) of the Florida Statutes, Defendants’

 addresses are:

                  World Magic Games, LLC
                  2201 NW 102nd Place, Suite 5
                  Miami, FL 33172-2521

                  Hassan Alawie
                  4796 NW 111 Ct.
                  Miami, FL 33178-4225

         6.       Plaintiff SHALL serve this Final Default Judgment in accordance with Federal

 Rule of Civil Procedure 55.

         DONE AND ORDERED in Chambers at Miami, Florida, this _25th_ day of August,
 2016.


                                                    ________________________________
                                                    URSULA UNGARO
                                                    UNITED STATES DISTRICT JUDGE

 copies provided: counsel of record
